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 7
        Cassandra Arvizu
                                   UNITED STATES DISTRICT COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
 9

 10     CASSANDRA ARVIZU,                              Case No.: 5:21-cv-1096
 11               Plaintiff,
                                                       Complaint for Damages:
 12
        v.                                               1. Violation of Fair Credit
                                                            Reporting Act
 13
        EQUIFAX INFORMATION
 14
        SERVICES LLC,
 15
               Defendants.
 16

 17
             Plaintiff, Cassandra Arvizu, by and through undersigned counsel, upon
 18
       information and belief, hereby complains as follows:
 19
                                     I.         INTRODUCTION
 20
             1.        This action arises out of Defendant’s violations of the Fair Credit
 21
       Reporting Act (“FCRA”), whereby Plaintiff discovered inaccurate information
 22
       reporting on her consumer credit reports, disputed that inaccurate information, and
 23
       Defendant willfully or negligently refused to correct the inaccurate information on
 24
       Plaintiff’s consumer credit report, damaging Plaintiff.
 25
                                          II.       PARTIES
 26
             2.        Plaintiff is, and was at all times hereinafter mentioned, a resident of
 27
       the County of San Bernardino, California.
 28
             3.        At all times pertinent hereto, Plaintiff was a “consumer” as that term
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 1     is defined by 15 U.S.C. §1681(a)(c).
 2           4.     Defendant, Equifax Information Services LLC (“Equifax”), is a credit
 3     reporting agency, licensed to do business in California and has designated the
 4     following registered statutory agent: THE PRENTICE-HALL CORPORATION
 5     SYSTEM, INC (C0257078), 2710 Gateways Oaks Drive Suite 150N Sacramento,
 6     CA 95833.
 7           5.     Defendant Equifax is, and at all times relevant hereto was, regularly
 8     doing business in the State of California.
 9           6.     Equifax is regularly engaged in the business of assembling, evaluating,
 10    and disbursing information concerning consumers for the purpose of furnishing
 11    consumer reports, as defined in 15 U.S.C. §1681(d), to third parties.
 12          7.     Equifax furnishes such consumer reports to third parties under contract
 13    for monetary compensation.
 14          8.     At all times pertinent hereto, Defendant Equifax was a “person” and
 15    “consumer reporting agency” as those terms are defined by 15 U.S.C. §1681a(b)
 16    and (f).
 17                        III.       JURISDICTION AND VENUE
 18          9.     That the Court has jurisdiction over this action pursuant to 15 U.S.C.
 19    § 1681p, the Fair Credit Reporting Act (“FCRA”).
 20          10.    Venue is proper in this district pursuant to 28 U.S.C. §1391(b) and as
 21    the Plaintiff resides in and the injury occurred in San Bernardino County,
 22    California and Defendants do business in California.
 23          11.    Personal jurisdiction exists over Defendants as Plaintiff resides in
 24    California, Defendants have the necessary minimum contacts with the state of
 25    California, and this suit arises out of specific conduct with Plaintiff in California.
 26                         IV.        FACTUAL ALLEGATIONS
 27          12.    Plaintiff is a consumer who is the victim of inaccurate reporting by
 28    Defendant Equifax (“Defendant”) and has suffered particularized and concrete

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 1     harm.
 2           13.    Equifax is one of the three largest consumer reporting agencies
 3     (“CRAs”) as defined by 15 U.S.C. §1681(a)(f).
 4           14.    The CRAs’ primary business is the sale of consumer reports
 5     (commonly referred to as “credit reports”) to third parties and consumers.
 6           15.    Equifax has a duty, under the FCRA, to follow reasonable procedures
 7     to ensure that the consumer reports they sell meet the standard of “maximum
 8     possible accuracy.” 15 U.S.C. §1681(e)(B).
 9           16.    Plaintiff discovered an error on her Equifax credit report.
 10          17.    The February 2021 Equifax credit report lists the Plaintiff as deceased
 11    and having no credit history.
 12          18.    The Plaintiff is alive and has a credit history.
 13          19.    Defendant Equifax continues, erroneously, to report the incorrect and
 14    erroneous information.
 15          20.    The false information regarding the Plaintiff as deceased and having
 16    no credit history harms the Plaintiff because it does not accurately depict
 17    Plaintiff’s credit history and creditworthiness.
 18          21.    The Plaintiff suffers monetary harm in being unable to qualify for a
 19    large home loan.
 20          22.    The Plaintiff suffers monetary harm in being relegated to a much
 21    smaller homes loan.
 22          23.    The Plaintiff suffers reputational harm when realtors have asked to run
 23    Plaintiff’s credit and won’t accept her offers on homes due to the inconsistent
 24    history of her credit report.
 25                              PLAINTIFF’S WRITTEN DISPUTE
 26          24.    On or about February 24, 2021, Plaintiff sent a written dispute to
 27    Equifax (“Equifax Dispute”), disputing the inaccurate information regarding the
 28    erroneous information reporting on Plaintiff’s Equifax consumer report.

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 1           25.    Equifax did not conduct an investigation, contact Plaintiff, contact
 2     third-parties, or review underlying information with respect to the disputed
 3     information and the accuracy of the consumer report.
 4           26.    Equifax employed an investigation process that was not reasonable
 5     and did not correct the false information regarding the information identified in
 6     Plaintiff’s Equifax Dispute.
 7           27.    At no point after receiving the Equifax Dispute did Equifax
 8     communicate with Plaintiff to determine the veracity and extent of Plaintiff’s
 9     Equifax Dispute.
 10          28.    Equifax relied on its own judgment and the information, rather than
 11    grant credence to the information provided by Plaintiff.
 12                                    COUNT I – EQUIFAX
 13              FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681e(b)
 14          29.    Plaintiff re-alleges and reaffirms the above paragraphs as though fully
 15    set forth herein.
 16          30.    After receiving the Equifax Dispute, Equifax failed to correct the false
 17    information regarding the Plaintiff reporting on Plaintiff’s Equifax consumer
 18    report.
 19          31.    Defendant Equifax violated 15 U.S.C. §1681e(b) by failing to
 20    establish or to follow reasonable procedures to assure maximum possible accuracy
 21    in the preparation of the credit reports and credit files Defendant Equifax
 22    published and maintained concerning Plaintiff.
 23          32.    As a result of this conduct, action and inaction of Defendant Equifax,
 24    Plaintiff suffered damage, and continues to suffer, actual damages, including
 25    economic loss, damage to reputation, emotional distress, and interference with
 26    Plaintiff’s normal and usual activities for which Plaintiff seeks damages in an
 27    amount to be determined by the trier of fact.
 28          33.    Defendant Equifax’s conduct, action, and inaction were willful,

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 1     rendering Defendant Equifax liable to Plaintiff for punitive damages pursuant to
 2     15 U.S.C. §1681n.
 3           34.    In the alternative, Defendant Equifax was negligent, entitled Plaintiff
 4     to recover damages under 15 U.S.C. §1681o.
 5           35.    Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
 6     Equifax, pursuant to 15 U.S.C. §1681n and/or §1681o.
 7                                    COUNT II – EQUIFAX
 8               FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681(i)
 9           36.    Plaintiff re-alleges and reaffirms the above paragraphs as though fully
 10    set forth herein.
 11          37.    After receiving the Equifax Dispute, Equifax failed to correct the false
 12    information regarding the Plaintiff reporting on Plaintiff’s Equifax consumer
 13    report.
 14          38.    Defendant Equifax violated 15 U.S.C. §1681i by failing to correct
 15    inaccurate information in Plaintiff’s credit files after receiving actual notice of
 16    such inaccuracies, by failing to conduct lawful reinvestigations, and by failing to
 17    maintain reasonable procedures with which to filter and verify disputed
 18    information in Plaintiff’s credit files.
 19          39.    As a result of this conduct, action and inaction of Defendant Equifax,
 20    Plaintiff suffered damage, and continues to suffer, actual damages, including
 21    economic loss, damage to reputation, emotional distress and interference with
 22    Plaintiff’s normal and usual activities for which Plaintiff seeks damages in an
 23    amount to be determined by the trier of fact.
 24          40.    Defendant Equifax’s conduct, action, and inaction were willful,
 25    rendering Defendant liable to Plaintiff for punitive damages pursuant to 15 U.S.C.
 26    §1681n.
 27          41.    In the alternative, Defendant Equifax was negligent, entitling Plaintiff
 28    to recover damages under 15 U.S.C. §1681o.

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 1           42.    Plaintiff is entitled to recover costs and attorneys’ fees from Defendant
 2     Equifax pursuant to 15 U.S.C. §1681n and/or §1681o.
 3                                     PRAYER FOR RELIEF
 4           WHEREFORE, Plaintiff seeks a reasonable and fair judgment against
 5     Defendants for willful noncompliance of the Fair Credit Reporting Act and seeks
 6     her statutory remedies as defined by 15 U.S.C. § 1681 and demands:
 7        A. Actual damages to be proven at trial, or statutory damages pursuant to 15
 8            U.S.C. § 1681n(a)(1)(A), of not less than $100 and not more than $1,000
 9            per violation;
 10       B. Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for Defendant’s
 11           willful violation;
 12       C. The costs of instituting this action together with reasonable attorney’s fees
 13           incurred by Plaintiff pursuant to 15 U.S.C. § 1681n(a)(3); and
 14       D. Any further legal and equitable relief as the court may deem just and proper
 15           in the circumstances.
 16          Respectfully submitted June 30, 2021
 17
                                                  MCCARTHY LAW, PLC
 18
                                                 By: /s/ Garrett Charity
 19                                              Garrett Charity, Esq.
 20                                              Attorneys for Plaintiff
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